            Case 2:20-cv-00272-SMJ                  ECF No. 47           filed 10/13/21    PageID.894 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                                  for the_                                    EASTERN DISTRICT OF WASHINGTON

                                                     Eastern District of Washington
                  GUADALUPE MENDEZ,
                                                                                                               Oct 13, 2021
                                                                                                                   SEAN F. MCAVOY, CLERK

                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:20-cv-00272-SMJ
     ANTONY J. BLINKEN, in his official capacity as                  )
                 Secretary of State,                                 )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff is declared a citizen of the United States of America and Plaintiff’s request for mandamus relief (ECF No. 7) at
’
              2–3 is denied without prejudice. Judgment is hereby entered in favor of the Plaintiff.




This action was (check one):
’ tried by a jury with Judge                                                                           presiding, and the jury has
rendered a verdict.

✔
’ tried by Judge         SALVADOR MENDOZA, JR.                                            without a jury and the above decision
was reached.

’ decided by Judge                                                                              on a motion for




Date: 10/13/2021                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                             Allison Yates
